     Case 6:09-cr-00023-LGW-CLR Document 102 Filed 01/03/14 Page 1 of 2




             UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF GEORGIA
                  SAVANNAH DIVISION
IRIE WILLIAMS BRINSON               )
                                    )
v.                                  )      Case No. CV611-049
                                    )               CR609-023
UNITED STATES OF AMERICA            )

                                ORDER

      Let a copy of this Report and Recommendation be served upon

plaintiff and counsel for defendants. Any objections to this Report and

Recommendation must be filed with the Clerk of Court not later than

January 17, 2014. The Clerk shall submit this Report and

Recommendation together with any objections to the Honorable B. Avant

Edenfield, United States District Judge, on January 17, 2014. Failure to

file an objection within the specified time means that this Report and

Recommendation may become the opinion and order of the Court, Nettles

v. Wainwright , 677 F.2d 404 (5th Cir. 1982), and further waives the right

to appeal the District Court's Order.   Thomas v. Arn , 474 U.S. 140 (1985).

      All requests for additional time to file objections to this Report and

Recommendation should be filed with the Clerk for consideration by the

District Judge to whom this case is assigned.
Case 6:09-cr-00023-LGW-CLR Document 102 Filed 01/03/14 Page 2 of 2




 This 3rd day of January, 2014.



                            -..




                           UNITED STATES MAGISTRATE JUDGE
                            SOUTHERN DISTRICT OF GEORGIA
